1    Edward J. Maney
     Chapter 13 Trustee
2    101 N. First Ave., Suite 1775
     Phoenix, Arizona 85003
3    Telephone (602) 277-3776
     ejm@maney13trustee.com
4
                              IN THE UNITED STATES BANKRUPTCY COURT
5                                     FOR THE DISTRICT OF ARIZONA

6    In re:                                           )       CHAPTER 13 PROCEEDINGS
                                                      )
7                                                     )       CASE NO. # 2: 16-13256-BMW
                       RONALD RELF,                   )
8                      VANESSA RELF,                  )       TRUSTEE'S EVALUATION AND
                                                      )       RECOMMENDATION(S) REPORT WITH
9                                                     )       NOTICE OF POTENTIAL DISMISSAL IF
                                                      )       CONDITIONS ARE NOT SATISFIED
10                                                    )       RE: 2nd AMENDED CHAPTER 13 PLAN
                                      (Debtor(s)      )       Docket #86      filed April 24, 2018
11

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               Edward J. Maney, Trustee, has analyzed the Debtors’ Second Amended Chapter 13 Plan and
13
          supporting documents and submits the following evaluation and recommendation(s):
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15   General requirements:

16        a.   Due to the possibility of errors on the claims docket, it is the attorney’s responsibility to review
               all proofs of claim filed with the Court and resolve any discrepancies between the claims and
17             the Plan prior to submitting any proposed Order Confirming Plan to the Trustee. Please
               submit a copy of the Court’s Claims Register with any submission of the Order Confirming.
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      b.       Requests by the Trustee for documents and information are not superseded by the filing of an
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               amended plan or motion for moratorium.
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      c.       The Trustee will object to any reduction in the Plan duration or payout in a proposed Order
21             Confirming Plan unless an amended or modified plan is filed and noticed out.

22    d.       The Debtors are required to provide directly to the Trustee, within 30 days after their filing,
               copies of their federal and state income tax returns for every year during the duration of the
23             Chapter 13 Plan. This requirement is to be included in any Order Confirming.

24    e.       The Trustee requires that any proposed Order Confirming Plan state: “The Plan and this
               Order shall not constitute an informal proof of claim for any creditor.”
25
     f.        The Trustee requires that any proposed Order Confirming Plan state: “Debtor is instructed to
26             remit all payments on or before the stated due date each month. Debtor is advised that when
               payments are remitted late, additional interest may accrue on secured debts, which may result in
27             a funding shortfall at the end of the Plan term. Any funding shortfall must be cured before the
               Case can be discharged. This requirement is effective regardless of Plan payments
28             suspensions, waivers or moratoriums, and must be included in any Plan Confirmation Orders.”
1                                                                         Trustee’s Recommendation
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      g.   At the time of confirmation, the Trustee will require the Debtors to certify that they are current
4          on all required tax filings and any domestic support orders.
5     h.   At the time of confirmation, the debtor(s) are required to certify, via language in the Order
           Confirming, that they are current on all payments that have come due on any Domestic Support
6          Orders since the filing of their case and that they are current on all required tax return
           filings [pursuant to 11 U.S.C. §1308].
7
      i.   DEBTORS / DEBTORS’ COUNSEL REMINDER - A letter is to be submitted to the Trustee,
8          accompanying any Order Confirming, addressing all issues as they are listed in the Trustee’s
           Recommendation. In addition, all documents (ex: tax returns, paystubs etc.) submitted to the
9
           Trustee must be redacted – in compliance with Fed.R.Bankr.P.9037 -- by debtors and/or their
10         counsel.

11

12   Specific Recommendations:

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     1.    The Trustee requires the debtors supply a copy of bank statement that reveals the balance
14         on hand on the date of their filing of their case.

15   2.    If the 2nd Amended Plan is not confirmed at 100% repayment to all creditors, the Trustee requires
           further information regarding their real property in Michigan. Is it being rented out? If no, why
16         not? And if not, why should creditors subsidize any family living rent free or the debtors retaining
           a vacant, non-self-sustaining property? If it is being rented out, Schedule I must be included to
17         include this income.
18   3.    Schedule J must be amended to separately list all expenses for their two pieces of real property.
19   4.    The Debtors received significant tax refunds for 2015, which, if allowed to continue, would
           constitute a diversion of projected disposable income. The Trustee requires the Debtors to
20
           adjust payroll tax deductions to prevent over- or under-withholding, amend Schedule I
21         increasing Plan payments accordingly and provide two consecutive pay stubs to verify this
           has been corrected OR turn over tax refunds for each year during the life of the plan (2016,
22         2017 and 2018) as supplemental plan payments.

23   5.    The Trustee requires a completed and signed copy of Debtor(s) 2016 & 2017 State and
           Federal tax returns, W-2’s and 1099’s, as well as the turnover of net tax refunds, per item #4
24         above.

25   6.    The debtors’ counsel filed a fee application on April 27, 2018 [doc. #87], for the amount of
           $6,564.47 (on which there is scheduled a hearing on July 31, 2018 at 11am), however this
26         amount is not listed in the 2nd Amended Plan filed April 24, 2018. The Trustee requires an
           explanation regarding why these fees were not referenced in the 2nd Amended Plan.
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     7.    The Trustee's analysis reveals a $28,643 funding shortfall including Chapter 7 Reconciliation,
28         which must be cured before the Plan can be confirmed.
1                                                                       Trustee’s Recommendation
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4    8.     Plan payments are currently delinquent $3,994.68 with a payment of $1,988.40 coming due June
            18, 2018.
5
     9.     The Trustee requires the debtors prove plan payment feasibility as their budget Schedules I and
6           J reveal disposable income of $1,069 per month when plan payments are $1,988.40.
7    10.    The Trustee requires any Order Confirming the 2nd Amended Plan detail fees that are to be
            paid to James Kahn ($250) and Matthew Boatman ($5,715.43).
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10           In summary, the 2nd Amended Plan can be confirmed subject to the condition(s) noted above,
     adequate funding, and timely filed Stipulated Order Confirming, and Court approval. The Trustee
11   requires that any Stipulated Order Confirming contain the “wet” signatures from the debtors
     (where applicable), debtors counsel and objecting creditors if there are any. General unsecured
12   creditors (including secured creditors with unsecured deficiency balances) will be paid through the
     Trustee, subject to timely filed and allowed claims. Chapter 7 reconciliation requirement will be met
13   given debtors’ scheduled equity in non-exempt property at petition date. You are hereby advised that
     the Trustee may lodge an Order of Dismissal should Debtor fail to resolve item(s) #1, #2, #3, #5,
14   #6, #7, #8, #9 above and submit a Stipulated Order Confirming to the Trustee for review and
     signature or request a hearing within 30 days from the date of the mailing of this Trustee's
15   Recommendation.

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17
     Date See Electronic Signature Block
18
                                                         EDWARD J. MANEY,
19                                                       CHAPTER 13 TRUSTEE

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22


                                                       Edward J. Digitally          signed by
23

24                                                                         Edward J. Maney, Esq.

25                                               By:
                                                       Maney,      Esq.    Date: 2018.06.14
                                                                           10:13:00 -07'00'
                                                       _______________________________
                                                         Edward J. Maney ABN 12256
26
                                                         CHAPTER 13 TRUSTEE
27                                                       101 North First Ave., Suite 1775
                                                         Phoenix, Arizona 85003
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                                                         ejm@maney13trustee.com
1                                                                       Trustee’s Recommendation
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4    Copies of the forgoing
     mailed on [see electronic signature],
5    to the following:

6

7
     Ronald Relf
8    Vanessa Relf
     5307 W. Muriel Dr.
9    Glendale, AZ 85308
     Debtors
10

11
     The Turnaround Team
12   1166 E. Warner Road
     Suite #205
13   Gilbert, Arizona 85296
     Debtors’ counsel
14

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17

18               Jackie             Digitally signed by Jackie Garcia
                                    DN: cn=Jackie Garcia, o=Edward
                                    J. Maney, Trustee, ou=File Clerk,


                 Garcia
                                    email=jgarcia@maney13trustee.c
                                    om, c=US
19   By:                            Date: 2018.06.15 11:26:25 -07'00'

            Trustee’s Clerk
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